     Case 2:12-cr-00016-WFN   ECF No. 278   filed 12/14/12   PageID.827 Page 1 of 1




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 6
                           UNITED STATES DISTRICT COURT
 7                        EASTERN DISTRICT OF WASHINGTON
 8
       UNITED STATES OF AMERICA,              )     No. CR-12-016-WFN-3
 9                                            )
                   Plaintiff,                 )     ORDER GRANTING UNOPPOSED
10                                            )     MOTION TO MODIFY
       v.                                     )
11                                            )      Motion Granted
       COREY EDWARD MOBLEY, a/k/a             )         (ECF No. 272)
12     Corey E. Mobley,                       )
                                              )
13                 Defendant.                 )     G   Action Required
                                              )
14                                            )

15    Date of Motion hearing: December 14, 2012.

16          Defendant’s unopposed Motion to Modify is GRANTED.               Defendant

17    may travel to the Seattle, Washington, area, from December 16, 2012,

18    through December 22, 2012, for employment training.                  Urinalysis

19    testing shall occur on the first business day following return to

20    Spokane.

21          All other conditions of release remain.

22          IT IS SO ORDERED.

23          DATED December 14, 2012.

24
25                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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28


      ORDER GRANTING UNOPPOSED MOTION TO MODIFY- 1
